             19-08446-rdd              Doc 1-1          Filed 11/07/19        Entered 11/07/19 18:22:24           Exhibit A       Pg
                                                                            1 of 1
                                                                   2600 Eagan Woods Dr, Suite 400              151 West 46th Street, 4th Floor
                                                                   St. Paul, MN 55121                                   New York, NY 10036
                                                                   651-406-9665                                               212-267-7342

Defendant:                   Troutman Sanders LLP
Bankruptcy Case:             Sears Holdings Corporation, et al.
Preference Period:           Jul 17, 2018 - Oct 15, 2018
                                                         Transfers During Preference Period

                        Debtor(s) Incurring
Debtor Transferor(s)     Antecedent Debt      Check Number       Check Amt       Clear Date   Invoice Number      Invoice Date      Invoice Amt
Kmart Holding              Kmart Holding           781009429      $626.83        9/18/2018          2004942        7/3/2018            $626.83
Corporation                 Corporation
Kmart Holding              Kmart Holding           780998818      $599.99        8/28/2018          1994283        6/12/2018           $599.99
Corporation                 Corporation
Kmart Holding              Kmart Holding           780987686     $26,064.62      8/1/2018           1986356B       5/23/2018         $26,064.62
Corporation                 Corporation

       Totals:         3 transfer(s), $27,291.44




Troutman Sanders LLP (2191359)
Bankruptcy Case: Sears Holdings Corporation, et al.
Nov 4, 2019                                                            Exhibit A                                                       P. 1
